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 NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)                                                                            CLEAR FORM
 OR OF PARTY APPEARING IN PRO PER
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 (828) 319-0520




 ATTORNEY(S) FOR:    Plaintiffs Nathan Johnson and Shari Edwards
                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
NATHAN JOHNSON, an individual; SHARI                                           CASE NUMBER:

EDWARDS, an individual,
                                                              Plaintiff(s),
                                     v.
STONEYHILL SECURITY ASSOCIATION, a
                                                                                              CERTIFICATION AND NOTICE
California corporation; and DOES 1 through 10,
                                                                                                OF INTERESTED PARTIES
inclusive,                                                                                          (Local Rule 7.1-1)
                                                             Defendant(s)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for                    Plaintiffs Nathan Johnson and Shari Edwards
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                      CONNECTION / INTEREST
NATHAN JOHNSON                                                                Plaintiff

SHARI EDWARDS                                                                 Plaintiff

STONEYHILL SECURITY ASSOCIATION                                               Defendant




         November 7, 2019                                  /s/ Charles Menzies
         Date                                              Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Plaintiffs Nathan Johnson and Shari Edwards


CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
